            Case 1:22-cv-00659-TJK Document 23 Filed 04/05/22 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


REPUBLICAN NATIONAL COMMITTEE,

               Plaintiff,

       v.                                             Civil Action No. 22-659 (TJK)

NANCY PELOSI et al.,

               Defendants.


                                             ORDER

       In this lawsuit, the Republican National Committee (“RNC”) challenges a subpoena issued

by the Select Committee to Investigate the January 6th Attack on the United States Capitol (“Select

Committee”). The subpoena orders the production of data from the RNC’s third-party data vendor,

Salesforce.com, Inc. (“Salesforce”).

       In its original complaint, the RNC sued the Select Committee, each of the nine House

Members serving on the Select Committee, and Speaker of the House Nancy Pelosi (“House De-

fendants”). See ECF No. 1 ¶¶ 12–22. By amended complaint, the RNC sued Salesforce as well,

not because it had “breached any contractual or other duty to the RNC” but merely to ensure that

the RNC could obtain “effective and complete emergency relief.” See ECF No. 6 ¶¶ 23, 49–50.

The RNC asserts six claims about the subpoena, alleging that it violates the RNC’s constitutional

rights, is invalid under House Rules, is overbroad and unduly burdensome, and violates the Stored

Communications Act. See id. ¶¶ 74–142.

       After filing its amended complaint, the RNC moved for a preliminary injunction. See gen-

erally ECF No. 8. In response, Salesforce noted its de facto third-party status and effectively took

no position on the RNC’s preliminary-injunction motion or the merits of its claims. See ECF No.
          Case 1:22-cv-00659-TJK Document 23 Filed 04/05/22 Page 2 of 3




15 at 1–3. House Defendants opposed the motion, arguing as relevant here that the Speech or

Debate Clause, U.S. Const. art. I, § 6, cl. 1, barred the entire “lawsuit” and asking the Court to

“deny the motion and dismiss this action” on that basis. See ECF No. 17 at 28, 34. In reply, the

RNC argued that, at a minimum, the Speech or Debate Clause did not bar the RNC’s claims against

Salesforce, although it did not explain how its claims could proceed against only Salesforce if the

Court were to dismiss House Defendants. See ECF No. 21 at 6–9.

       During the April 1 hearing on the RNC’s motion, the parties agreed that the Court should

consolidate the RNC’s motion with the “trial on the merits.” See Fed. R. Civ. P. 65(a)(2). The

Court later asked House Defendants whether—assuming it applied—the Speech or Debate Clause

barred the entire lawsuit, as they had suggested in their opposition, or only the claims against them,

as the RNC had argued in its reply. House Defendants then backtracked, answering that the Clause

barred only the claims against them. The RNC, for its part, represented that it maintains all its

claims against House Defendants and Salesforce. The parties then could not identify for the Court

any authority providing meaningful guidance for how to proceed if the Court were to dismiss only

the claims against House Defendants.

       For these reasons, the Court hereby ORDERS the RNC and House Defendants to submit

briefs addressing these questions:

       1. If the Speech or Debate Clause requires the Court to dismiss the claims against
          House Defendants, can the RNC’s claims against Salesforce proceed or must
          they be dismissed for some reason?

       2. If the Speech or Debate Clause requires the Court to dismiss the claims against
          House Defendants, does the Speech or Debate Clause operate to bar the RNC’s
          claims against Salesforce in some way? Does Federal Rule of Civil Procedure
          19 play a role in that analysis, similar to the way it generally favors dismissing
          an entire lawsuit when a “required party” has sovereign immunity and so “can-
          not be joined” in the action? See, e.g., Kickapoo Tribe of Indians of Kickapoo
          Rsrv. in Kan. v. Babbitt, 43 F.3d 1491 (D.C. Cir. 1995); Ali v. Carnegie Inst. of
          Wash., 306 F.R.D. 20 (D.D.C. 2014).



                                                  2
          Case 1:22-cv-00659-TJK Document 23 Filed 04/05/22 Page 3 of 3




       3. If the Speech or Debate Clause requires the Court to dismiss the claims against
          House Defendants, does the RNC have standing to assert its claims against
          Salesforce?

       4. If the Speech or Debate Clause requires the Court to dismiss the claims against
          House Defendants, and the RNC’s claims against Salesforce are not subject to
          dismissal, on what basis may the Court grant summary judgment against
          Salesforce, given that Salesforce is a private party—effectively a third party in
          this litigation—and it is not alleged to have played any role in issuing the sub-
          poena?

Salesforce is invited to brief these questions as well, but it is not ordered to do so.

       Briefs addressing these questions shall not exceed thirty pages and shall be filed by April

8, 2022. The parties may then file responsive briefs but are not ordered to do so. Any responsive

briefs shall not exceed twenty pages and shall be filed by April 12, 2022.

       SO ORDERED.

                                                               /s/ Timothy J. Kelly
                                                               TIMOTHY J. KELLY
                                                               United States District Judge
Date: April 5, 2022




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